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 In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                   No. 20-217V


 SUSIE BJALOBOK,                                  Chief Special Master Corcoran

                    Petitioner,
 v.                                               Filed: February 12, 2021

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                   Respondent.


                SCHEDULING ORDER-SPECIAL PROCESSING UNIT

       On May 26, 2020, Respondent’s counsel filed a status report stating that she
conducted a preliminary review of the case and did not identify any medical records that
appeared to be missing. Respondent’s counsel also stated that she did not identify any
legal or factual issues that require additional support or development. Respondent further
estimated that this case will be reviewed by February 27, 2021.

       In light of Respondent’s counsel’s assessment, Petitioner’s evidence filed to date,
and my own review of this case, I believed it would be appropriate for this case to remain
in SPU. ECF No. 16. Further, Petitioner indicated that a demand for damages was
provided to Respondent on June 9, 2020. ECF No. 15.

        On February 8, 2021, Respondent filed a status report stating that an additional 2
months is needed to determine his position. ECF No. 25. Waiting an additional 2 months
would result in feedback coming more than one year after this case was released from
pre-assignment review (March 4, 2020) and would not be productive. Whatever the
reason for that delay, proceedings in the Vaccine Program will not be held up for months
at a time simply because one party to a claim (here, Respondent) is unable to adhere to
a deadline or move the case. Thus, I will provide Respondent an additional 30 days to
indicate how he intends to proceed. If this case remains in statis after that time, I will
permit Petitioner to seek a ruling on the record.

      Accordingly: Respondent shall file, by no later than Monday, March 15, 2021,
a status report indicating how Respondent intends to proceed in this case or an
updated estimate on the amount of time needed for the medical review. If
Respondent again indicates that the matter remains unreviewed, or that the
possibility of settlement cannot be assessed for several more months, Petitioner
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shall be permitted to move for a ruling on the record, and any such motion may
also make a substantiated damages request.

     Any questions about this order or about this case generally may be directed to
OSM staff attorney Andrew Sterling at (202) 357-6389 or
Andrew_Sterling@cfc.uscourts.gov.

IT IS SO ORDERED.
                                               s/Brian H. Corcoran
                                               Brian H. Corcoran
                                               Chief Special Master




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